













NUMBER 13-09-00318-CV



										COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG







WILSON ESTES POLICE ARCHITECTS, INC.,	Appellant,


v.



ENRIQUEZ ENTERPRISES, INC., D/B/A 

VALLEY BUILDERS CONSTRUCTION, INC.,	Appellee.





On Appeal from the 206th District Court


of Hidalgo County, Texas.






MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam


	This appeal was abated by this Court on August 3, 2009, to allow the parties to file
dismissal documents in the trial court and to exchange mutual settlement agreements and
releases.  This cause is now before the Court on appellant's unopposed motion to dismiss
the appeal on grounds that the underlying lawsuit from which this appeal arises has been
dismissed with prejudice as to all parties.  Appellant requests that this Court dismiss the
appeal.  Accordingly, this case is hereby REINSTATED.

	The Court, having considered the documents on file and appellant's unopposed
motion to dismiss the appeal, is of the opinion that the motion should be granted.  See Tex.
R. App. P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby
DISMISSED.  Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent
agreement of the parties, the court will tax costs against the appellant.").  Having dismissed
the appeal at appellant's request, no motion for rehearing will be entertained, and our
mandate will issue forthwith.


									PER CURIAM


Memorandum Opinion delivered and filed

this the 1st day of October, 2009.






